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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 KIMBERLY DIANE MOHAMMAD,
                                                           CIVIL COMPLAINT         1:16-cv-10117
               Plaintiff,

 v.                                                              CASE NO.

 COMENITY BANK,
                                                       DEMAND FOR JURY TRIAL
               Defendant.


                         COMPLAINT FOR RELIEF PURSUANT
                   TO THE TELEPHONE CONSUMER PROTECTION ACT

        NOW comes KIMBERLY DIANE MOHAMMAD (“Plaintiff”), by and through her

attorneys, Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of

COMENITY BANK (“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 and the Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”) under 815 ILCS 505/1 for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts

business in the Northern District of Illinois and a substantial portion the events or omissions

giving rise to the claims occurred within the Northern District of Illinois.

                                               PARTIES

    4. Plaintiff is a 53 year old person residing at 5323 N Paulina Street, Apartment 1, Chicago,

Illinois, which falls within the Northern District of Illinois.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

    6. Defendant is a national banking institution organized under the laws of the United States

with its headquarters located in Wilmington, Delaware. Defendant is a foreign company that

regularly conducts business with consumers in Illinois.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

    8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigs, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                              FACTS SUPPORTING CAUSES OF ACTION

    9. Over the last many years, Plaintiff has incurred several lines of credit from various stores

all issued through Defendant. See attached Exhibit A is a true and correct copy of an affidavit

signed by Plaintiff.

    10. Plaintiff has used the lines of credit to make consumer purchases of household goods

and food for herself and family. See Exhibit A.

    11. Plaintiff takes financial care of her elderly father. Those expenses, as well as her own,

have often caused Plaintiff to be late with her payments to Defendant. Id.




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   12. When Plaintiff fails to make timely payments, Defendant engages in placing frequent

collection calls seeking payment. Id.

   13. Plaintiff regularly receives collection calls from Defendant on her cellular, (773) XXX-

3373, and residential, (773) XXX-2508, phone numbers. Id.

   14. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the above phone numbers ending in 3373 and 2508. Plaintiff is and has always been

financially responsible for the phone numbers and their services.

   15. Defendant calls Plaintiff from a large variety of phone numbers including (614) 212-

5298 and (614) 212-7531. Id.

   16. Upon information and belief, Defendant uses the above phone numbers ending in 5298

and 7531, as well as many others, during its collection activity towards consumers in Illinois.

   17. When Plaintiff answers calls from Defendant, she experiences a noticeable pause,

approximately four seconds in length, before a live representative begins to speak. Id.

   18. During other answered calls, Plaintiff has been greeted with a recorded message prior to

a live representative coming on the line. Id.

   19. After falling behind on her payments in late 2015, Defendant placed a litany of

collection calls to Plaintiff’s cellular phone throughout November and December. Id.

   20. Defendant’s collection calls have continued into 2016 despite Plaintiff’s efforts to

remain current on her payments. Id.

   21. In September 2016, after again falling behind on her payments, Defendant started

calling Plaintiff’s cellular phone on a daily basis. Id.

   22. Plaintiff has received as many as eight phone calls a day to her cellular phone from

Defendant. Id.



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    23. In response to the daunting call volume, Plaintiff instructed Defendant to stop

contacting her on least two occasions during September 2016. However, despite her requests,

Defendant has continued to call Plaintiff’s cellular phone on a daily basis. Id.

    24. Defendant’s continued and persistent collection calls have caused Plaintiff a great deal

of stress. Id.

    25.   In response to Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

resulting in fees and expenses.

    26. Seeking to stop the calls from Defendant, Plaintiff has expended money and purchased

an applications on her cellular phone to block its phone numbers. However, because Defendant

utilizes a variety of phone numbers, the calls have continued. Id.

    27. Plaintiff has suffered charges and expenses that she would not have otherwise incurred

if not for Defendant’s calls, including the loss of cellular phone capacity.

    28. Plaintiff has suffered financial loss as a result of Defendant’s conduct.

    29. Plaintiff has been unfairly harassed by Defendant's actions. Id.

    30. Plaintiff’s job performance has been negatively impacted by Defendant’s actions. Id.

    31. Plaintiff has suffered concrete harm as a result of Defendant’s actions

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           COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    32. Plaintiff repeats and realleges paragraphs 1 through 31 as though fully set forth herein.

    33. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent.

The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the

capacity...to store or produce telephone numbers to be called, using a random or sequential

number generator; and to dial such numbers.”

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   34. Defendant used an ATDS in connection with it communications directed towards

Plaintiff. The four second pause that Plaintiff experienced during answered calls before being

connected to a live representative of Defendant is instructive that an ATDS was being used to

generate them. Plaintiff also received calls from Defendant featuring a recorded message. The

extreme frequency and nature of Defendant’s calls, strongly suggests that a predictive ATDS was

being utilized. Finally, Defendant’s use of a variety of phone numbers was done with the

purpose of increasing the likelihood of Plaintiff answering.

   35. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without her consent. Any consent Plaintiff may have given to Defendant was

explicitly revoked by her demands for it to stop calling.

   36. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   37. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, KIMBERLY DIANE MOHAMMAD, respectfully requests that

this Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.



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                        COUNT II – VIOLATIONS OF THE ILLINOIS
                 CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   38. Plaintiff restates and realleges paragraphs 1 through 37 as though fully set forth herein.

   39. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   40. Defendant’s collection calls to Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

   41. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or
               commerce are hereby declared unlawful whether any person has in
               fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

   42. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or

practice in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff

through means of an ATDS when she requested that it no longer do so. Defendant ignored

Plaintiff’s request and continued to contact her, systematically calling as many as eight times

during the same day. Some of Defendant’s calls were in extreme proximity to one another and

placed with the hope that Plaintiff would be compelled to make payment. Defendant ignored

Plaintiff’s prompts to cease its communications and continued to seek payment from her.

   43. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   44. The ICFA further states:

               “Any person who suffers actual damage as a result of a violation of
               this Act committed by any other person may bring an action against

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               such person. The court, in its discretion may award actual economic
               damages or any other relief which the court deems proper.” 815
               ILCS 505/10a.

   45. As pled in paragraphs 24 through 31, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful collection practices. As such, Plaintiff is entitled to relief pursuant to 815

ILCS 505/10a. An award of punitive damages is appropriate because Defendant’s conduct was

outrageous, willful and wanton, and showed a reckless disregard for the rights of Plaintiff.

Defendant regularly engages in the above described behavior against consumers in Illinois and

for public policy reasons should be penalized.

   WHEREFORE, Plaintiff, KIMBERLY DIANE MOHAMMAD, respectfully requests that

this Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: October 27, 2016                       Respectfully submitted,

                                              s/ Nathan C. Volheim
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